Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 1 of 19. PageID #: 486834




                EXHIBIT 13
            Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 2 of 19. PageID #: 486835

       Memorandum


       Subjoct                                                            Date
       Internet Presentation with AmerisourceBergen on August 10,
                                                                                 August 16, 2005
       2005
       (DFN: 060-06.05)




       To                                                       From    ~. (L~
       William J. Waiker                                         Michael R. Mapes, Chief
       Deputy Assistant Administrator                            E-Commerce Section (ODC)
       Office of Diversion Control

       On August 10, 2005, a meeting was held at the Office of Diversion Control conference room. In
       attendance were Steve Mays, Director of Regulatory Affairs for AmerisourceBergen, Michael R. Mapes,
       Chief, E-Commerce Section, Charles E. Trant, Office of Chief Counsel, Diversion & Regulatory
       Litigation Division, and Kyle J. Wright, Chief, E-Commerce Operations Unit. The purpose of the
       meeting was to address the illegal domestic Internet pharmacy problem and their source of supply.

       Mr. Mapes opened the meeting by presenting to Mr. Mays a power point briefing which explained the
       common characteristics of Internet pharmacies and why their activities are illegal. Reviewed with Mr.
       Mays were:
          • Supreme Court Cases and Immediate Suspension orders ofintemet pharmacies.
          • Establishing the medical need necessity for a prescription to be legal.
          • The DEA Internet Policy.
          • Verified Internet Pharmacy Practice Sites (VIPPS).
          • Policies published by the American Medical Association (AMA) and the Federation of State
             Medical Boards.
          • Review of the suspicious order requirements Title 21. Code of Federal Regulations.
          • Common practices and ordering patterns of lnternet pharmacies.
          • Examples of two Internet pharmacies highlighting the brazenness of activity to which Internet
             pharmacies will go to.

      After the presentation, Mr. Mays informed representatives of the DEA that AmerisourceBergen does not
      want to be associated with this type of illegal activity and reviews it customers thoroughly before
      engaging in businesses with them. At this time, Mr. Mays presented a sales profile for              ,a
      pharmacy in Colorado; which is allegedly conducting Internet sales. Mr. Mays informed the
      representatives of the DEA that the purchases by this pharmacy were somewhat suspicious but the
      pharmacy had also ordered and continues to order non-controlled substances commensurate with their
      purchases of controlled substances. The pharmacy's controlled substance purchases were primarily
      hydrocodone and Norco.




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            Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 3 of 19. PageID #: 486836
                                                  2

        Mr. Mapes, Mr. Trant and Mr. Wright all in tum expressed to Mr. Mays, the extent to which an Internet
        pharmacy will go to appear as legitimate as possible to include: leasing office space, purchasing
        appropriate amounts of other products, using multiple DEA registrations i.n order to stay under excessive
        purchasing reporting, etc., to give the guise of being a regular pharmacy. Yet, if the account managers for
        AmerisourceBergen were to scratch the surface a little deeper, they would readily see the real operations
        of such pharmacies.

        Mr. Mays stated that upon return to his office, sales to                     would be reviewed and
        AmerisourceBergen would begin a top to bottom review of the company's policies and sales practices.
        Mr. Mays further expressed that AmerisourceBergen was willing to do all that it could to help avert this
        serious issue of Internet pharmacies.

        Jn consultation with Mr. Trant, it wai; agreed, that ifE-Commerce Operations (ODCO) were to identify a
        highly suspicious pharmacy to which AmerisourceBergen was the wholesaler, ODCO would notify
        AmerisourceBergen via e-mail of the suspicious activity for AmerisourceBergen to review and take the
        actions the company deems appropriate. Mr. Mapes also informed Mr. Mays, if he desired further
        information, or training, to notify ODCO which would provide the requested information or training.

       The meeting between AmerisourceBergen and DEA was ended at this time, with each party having a
       clearer understanding and agreement as to how best address the sources of supply to Internet pharmacies.

       Attachments:
           1. Briefing Binder
          2. ••••••••printout




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            Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 4 of 19. PageID #: 486837




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                                             Internet Pharmacies

                            • Domestic Based
                                - Related to an existing pharmacy
                                    • Walk in patients with prescriptions
                                    • Some legitimate some not
                                - Unrelated to brick and motor pharmacy
                                    • No local patients or doctors
                                    • No walk-in business


                            • Foreign based



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            Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 5 of 19. PageID #: 486838




                                     ISSUES TO CONSIDER
                            • Frequency of Orders
                            • Size of Orders
                            • Range of Products Purchased
                            • Payment Method
                            • Pharmacy Location
                            • 0/o Controlled vs. 0/o Non-Controlled

                            • Customer pick up at distributor




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            Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 6 of 19. PageID #: 486839




""                                       Supreme Court Case
                            • Direct Sales Co, Inc. v. United States ( 1943)
                                - Mail order sales to doctor
                                - Most sales were Morphine
                                - Increase in quantities purchased
                                - Business practices attracted customers who were
                                  violating the law
                                - Drugs have inherent susceptibility to harmful and
                                  illegal use




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            Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 7 of 19. PageID #: 486840




                              RX Network of South Florida, LLC

                            • 69 FR 62,093 (2004)
                                - Revocation of DEA Registration
                                - Immediate Suspension of DEA Registration
                                    • 19 ,300 ,000 dosage units of various controlled
                                      substances
                                    • Based on Internet Questionnaires
                                - Not in the course of professional practice




                                         Supreme Court Case

                            • United States v. Moore
                                             423 U.S. 122 (1975)
                                - Usual course of professional practice
                                    • Patient with a Medical Complaint
                                    • History
                                    • Physical Examination
                                    • Nexus Between Complaint/History/Exam and Drug
                                      Prescribed




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            Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 8 of 19. PageID #: 486841




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                                             DEA Internet Policy
                            • 66 FR 21,181 (2001)
                            • Prescriptions can only be issued by a
                              doctor acting in the usual course of
                              professional practice
                            • Prescription not issued in the usual course
                              of professional practice is not valid
                            • An Internet questionnaire alone is not
                              sufficient to legally prescribe controlled
                              substances




                            VERIFIED INTERNET PHARMACY
                               PRACTICE SITES (VIPPS)

                            • National Association of Boards of
                              Pharmacy
                                - Licensed, legitimate, Inspection
                                - 14 VI PPS Approved Pharmacies as of 06-27-
                                  2005
                                - www .nabp.net/vipps/consumer/faq .asp




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            Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 9 of 19. PageID #: 486842




                               American Medical Association
                            • H-120.949 Guidance for Physicians on
                              Internet Prescribing
                                - valid patient-physician relationship, includes ,
                                  but not limited to:
                                    •   History and physical exam
                                    •   Dialogue with patient
                                    •   Follow up to assess outcome
                                    •   Maintain medical record
                                    •   Include electronic prescription in patient's medical
                                        record




                            Federation of State Medical Boards

                            • Created Model Guidelines for the
                              Appropriate use of the Internet in Medical
                              Purpose

                                - Treatment and consultation made in an online
                                  setting will be held to same standard as face-
                                  to-face settings .
                                - Treatment based solely on an online
                                  questionnaire is not acceptable



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           Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 10 of 19. PageID #: 486843




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"                                            Suspicious Orders

                            • 21CFR1301.74
                            .. Requires that registrants design and
                               operate system to identify suspicious
                               orders

                            • Report suspicious orders to DEA when
                              discovered




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           Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 11 of 19. PageID #: 486844




                                              Example #1

                            • Retail pharmacy
                                - Quantities of drugs
                                - Range of drugs sold
                                - % controlled and % non-controlled
                                - Size of orders over time
                                - Location of store
                                - Internet prices




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           Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 12 of 19. PageID #: 486845




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           Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 13 of 19. PageID #: 486846




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           Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 14 of 19. PageID #: 486847




                                             Example #3

                                - Advised Distributor they are an Internet
                                  Pharmacy
                                - No VIPPS approval
                                - Frequent Large Orders
                                - Hydrocodone and Benzodiazepines
                                - 99% controlled substances
                                - No established business credit




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           Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 15 of 19. PageID #: 486848




                                             SUMMARY

                            .. Prescriptions not written in the usual
                               course of professional practice are not
                               valid
                            • Drugs dispensed pursuant to invalid
                              prescriptions are not for legitimate medical
                              purpose , the drugs are diverted
                            • Not limited to Internet pharamcies




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           Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 16 of 19. PageID #: 486849




                                             SUMMARY
                            • A pattern of drugs being distributed to
                              pharmacies who are diverting controlled
                              substances demonstrates the lack of
                              effective controls against diversion by the
                              distributor

                            • The DEA registration of the distributor
                              could be revoked under public interest
                              grounds




                                             SUMMARY
                            • Any Distributor who is selling controlled
                              substances that are being dispensed
                              outside the course of professional practice
                              must stop immediately

                            • DEA cannot guarantee that past failure to
                              maintain effective controls against
                              diversion will not result in action against a
                              distributor




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           Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 17 of 19. PageID #: 486850




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"                                                SUMMARY

                            • DEA will:
                                - Meet with other distributors involved in
                                  distributing to Internet pharmacies
                                - Provide this information to your employees at
                                  your request
                                - Meet with Industry groups or associations to
                                  discuss issue if requested




                                             Contact Information

                            Michael Mapes
                                    Chief, E-Commerce Section
                                    703-653-2048


                            Kyle Wright
                                 Chief, E-commerce Operations Unit
                                    703-853-2103




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          Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 18 of 19. PageID #: 486851



                                                INTERNET PHARMACY
                                                   Decision Questions


               1.   Have you physically inspected the pharmacy?


               2.   Does the pharmacy accept walk-in customers?


               2.   Is the pharmacy licensed for sales in all required states?


               4.   Does the pharmacy purchase a wide range of
                    drug products from distributors?


              5.    What percentage of the pharmacy's drug purchases are
                    controlled substances?


              6.    Has the pharmacy requested to pick up orders
                    rather than have them delivered to the pharmacy?


              7.    Is the pharmacy ordering more than 3,000 dosage units
                    of phentermine a month?


              8.    Is the pharmacy ordering more than 5,000 dosage units
                    of hydrocodone combination products a month?


              9.    Is the pharmacy ordering more than 5,000 dosage units
                    of alprazolam a month?




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          Case: 1:17-md-02804-DAP Doc #: 3143-1 Filed: 01/31/20 19 of 19. PageID #: 486852




               10. If the pharmacy has a web site or is related to a web site:

                    a.   Are reasonable retail prices listed on the web site?


                    b.   Is there a patient medical history questionnaire
                         on the web site?


                    c.   Does the prescribing doctor perform a physical exam
                         of each patient?


                    d.   Does the website accept third party payment (i.e. insurance)
                         for the Internet prescriptions?


                   e.    Does the web site offer to sell drugs
                         without a prescription?


              11. Is the pharmacy VIPPS certified?


              12. Who pays the distributor for the drugs, the pharmacy
                  or a third party?




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